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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 JOHN GRIFFIN, individually and on behalf of          Case No. 1:18-cv-00979
 all others similarly situated,
                                                      Hon. Judge Charles P. Kocoras
                 Plaintiff,
                                                      Magistrate Judge Sidney I. Schenkier
 v.

 DEMARK, INC.,

                 Defendant.



                      PLAINTIFF’S MOTION TO ENTER JUDGMENT
                         WITH RESPECT TO FOUR PLAINTIFFS

        Demark made offers of judgment to four of the plaintiffs in this matter. See ECF Nos. 29-32.

These four plaintiffs filed notices accepting the offers of judgment. Id. In their notices, each plaintiff

requested judgment be entered in their favor in accordance with the terms of Demark’s offers of

judgment. Id. Under the terms of Rule 68, the filing of “the offer and notice of acceptance, plus proof

of service” mandates that the clerk “then enter judgment.” See FRCP 68(a).

        Because all the necessary filings have been made, Plaintiffs respectfully request the Court

enter judgment in favor of:

        1. Rem Le in this amount of $29,028;

        2. James McClure in the amount of $21,590;

        3. Jerry K. Miles in the amount of $50,320;

        4. John Griffin in the amount of $191,141.

        Once judgment is entered, these plaintiffs will then file a motion for attorney’s fees and costs

in accordance with 29 U.S.C. § 216(b) and N.D. Ill. LR54.3.
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Dated: September 12, 2018                          Respectfully Submitted,

                                           By:     /s/Richard M. Schreiber
                                                   One of Plaintiff’s Attorneys

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                                  CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on September 12, 2018, the foregoing Motion
(and all supporting documents attached thereto) were filed electronically with the Clerk of Court using
the ECF system which sent notice of the filing to the following:

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                                               By:     /s/Richard M. Schreiber
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